 Fill in this information to identify the case:

 Debtor 1              Christopher Kliczinski
                       __________________________________________________________________

 Debtor 2               Stephanie Kliczinski
                        ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________              Michigan
                                                                District of __________
                                                                             (State)
 Case number            15-31187-dof
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               US Bank Trust N.A., as trustee of
                   Bungalow Series F Trust
 Name of creditor: _______________________________________                                                           20
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          4385____ ____ ____
                                                         ____                            Must be at least 21 days after date       12   01   2019
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          907.23
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             361.94
                   Current escrow payment: $ _______________                           New escrow payment:           336.14
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
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Debtor 1         Christopher Kliczinski
                 _______________________________________________________                                               15-31187-dof
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    11 04 2019
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottilaw.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                                                                            Annual Escrow Account
                                                                                                             Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                 ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                              004     1461554385_ESCROWDISCSTMT_191022

                                                                                        DATE: 10/22/19

                                                   284
              STEPHANIE KLICZINSKI                                                     PROPERTY ADDRESS
              394 MEADOWIND CT                                                         394 MEADOWIND CT
              PINCKNEY, MI 48169                                                       PINCKNEY, MI 48169



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 12/01/2019
THROUGH 11/30/2020.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 12/01/2019 TO 11/30/2020 ---------
HOMEOWNERS INS                                                 $1,327.00
TOWN                                                           $2,706.72
TOTAL PAYMENTS FROM ESCROW                                     $4,033.72
MONTHLY PAYMENT TO ESCROW                                         $336.14
          ------ ANTICIPATED ESCROW ACTIVITY 12/01/2019 TO 11/30/2020 ---------
                   ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                   REQUIRED

                                                          STARTING BALANCE -->                $2,989.48                    $1,344.60
DEC               $336.14                                                                     $3,325.62                    $1,680.74
JAN               $336.14                                                                     $3,661.76                    $2,016.88
FEB               $336.14                 $1,576.90 TOWN                                      $2,421.00                      $776.12
MAR               $336.14                                                                     $2,757.14                    $1,112.26
APR               $336.14                                                                     $3,093.28                    $1,448.40
MAY               $336.14                                                                     $3,429.42                    $1,784.54
JUN               $336.14                                                                     $3,765.56                    $2,120.68
JUL               $336.14                                                                     $4,101.70                    $2,456.82
AUG               $336.14                 $1,327.00 HOMEOWNERS INS                            $3,110.84                    $1,465.96
SEP               $336.14                 $1,129.82 TOWN                                 L1-> $2,317.16               L2->   $672.28
OCT               $336.14                                                                     $2,653.30                    $1,008.42
NOV               $336.14                                                                     $2,989.44                    $1,344.56
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $1,644.88.
                                              CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                              $571.09
ESCROW PAYMENT                                                                               $336.14
NEW PAYMENT EFFECTIVE 12/01/2019                                                             $907.23
YOUR ESCROW CUSHION FOR THIS CYCLE IS $672.28.




                                        ********** Continued on reverse side ************




             Our records indicate that you have filed for Bankruptcy protection. As a result of your
             Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
             from calculation of your analysis, and they are now reflected as amounts due within your
             pre-petition arrearage. This Escrow Analysis Statement was prepared under the
             assumption that all escrow payments have been made in the amount required each
             month. The surplus funds indicated above are not an accurate reflection of your escrow
             account because no surplus funds will exist until all amounts are received towards your
             pre-petition arrearage.




              15-31187-jda
Licensed as Servis One, Inc. dba BSIDoc    205Services.
                                      Financial    Filed BSI11/06/19         Entered
                                                             Financial Services         11/06/19
                                                                                NMLS# 38078. Colorado16:00:41        Page
                                                                                                       Office Location: 7200 S.3Alton
                                                                                                                                 of 6Way, Ste.
B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                                                                                                                                                                                  PAGE 2 OF 2

                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 03/01/2018 AND ENDING 02/28/2019. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 03/01/2018 IS:
   PRIN & INTEREST                                                                                                                           $571.09
   ESCROW PAYMENT                                                                                                                            $299.50
   SHORTAGE PYMT                                                                                                                              $51.13
   BORROWER PAYMENT                                                                                                                          $921.72
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                            $599.07                      $12,528.89-
   MAR                  $299.50               $10,103.82           *                                                                                                          $898.57              A->      $2,425.07-
   APR                  $299.50                $5,273.96           *                                                                                                        $1,198.07                       $2,848.89
   MAY                  $299.50                  $350.63           *                                                                                                        $1,497.57                       $3,199.52
   JUN                  $299.50                    $0.00           *                                                                                                        $1,797.07                       $3,199.52
   JUL                  $299.50                  $350.63           *                                       $1,245.00 * HOMEOWNERS INS                                       $2,096.57                       $2,305.15
   AUG                  $299.50                  $350.63           *           $1,169.00                               HOMEOWNERS INS                                       $1,227.07                       $1,763.75
   AUG                                                                                                       $892.03 * TOWN
   SEP               $299.50                     $350.63           *               $875.63                             TOWN                                                   $650.94                        $2,114.38
   OCT               $299.50                     $350.63           *                                                                                                          $950.44                        $2,465.01
   NOV               $299.50                     $350.63           *                                                                                                        $1,249.94                        $2,815.64
   DEC               $299.50                     $350.63           *                                       $1,576.90 * TOWN                                                 $1,549.44                        $1,589.37
   JAN               $299.50                     $350.63           *                                                                                                        $1,848.94                        $1,940.00
   FEB               $299.50
                  __________                     $701.26
                                              __________           *          $1,549.44
                                                                             __________                   __________              TOWN                             T->        $599.00                        $2,641.26
                    $3,594.00                 $18,884.08                       $3,594.07                   $3,713.93


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $599.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $2,425.07-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




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If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin A. Zilberstein (SBN 200041)
 2   GHIDOTTI | BERGER, LLP
 3   1920 Old Tustin Ave.
     Santa Ana, CA 92705
 4   Ph: (949) 427-2010
     Fax: (949) 427-2732
 5   kzilberstein@ghidottiberger.com
 6
     Authorized Agent for Creditor
 7   US Bank Trust N.A., as trustee of
     Bungalow Series F Trust
 8
 9
                               UNITED STATES BANKRUPTCY COURT
10
                       EASTERN DISTRICT OF MICHIGAN – FLINT DIVISION
11
12   In Re:                                           )       CASE NO.: 15-31187-dof
                                                      )
13   Christopher Kliczinski and Stephanie Kliczinski, )       CHAPTER 13
                                                      )
14
            Debtors.                                  )       CERTIFICATE OF SERVICE
15                                                    )
                                                      )
16                                                    )
                                                      )
17
                                                      )
18                                                    )
                                                      )
19                                                    )
20
21                                    CERTIFICATE OF SERVICE
22
              I am employed in the County of Orange, State of California. I am over the age of
23
24   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

25   Santa Ana, CA 92705.
26            I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28
     be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.
                                                      1
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                                       CERTIFICATE        11/06/19 16:00:41
                                                   OF SERVICE                          Page 5 of 6
 1   On November 6, 2019 I served the following documents described as:
 2                 NOTICE OF MORTGAGE PAYMENT CHANGE
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                               Debtor’s Counsel
 7   Christopher Kliczinski                               Stacy Michelle Davis
     394 Meadowind Ct.                                    726 Church Street
 8
     Pinckney, MI 48169                                   Flint, MI 48502
 9
     Joint Debtor                                         Chapter 13 Trustee
10   Stephanie Kliczinski                                 Carl Bekofske
11   394 Meadowind Ct                                     400 N. Saginaw Street
     Pinckney, MI 48169                                   Suite 331
12                                                        Flint, MI 48502
13   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
14   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
15
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
16   Eastern District of California
17
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
18   America that the foregoing is true and correct.
19          Executed on November 6, 2019 at Santa Ana, California
20
     /s / Jeremy Romero
21   Jeremy Romero
22
23
24
25
26
27
28




                                                      2
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                                      CERTIFICATE        11/06/19 16:00:41
                                                  OF SERVICE                           Page 6 of 6
